

Bank of Am., N.A. v Angel (2021 NY Slip Op 03246)





Bank of Am., N.A. v Angel


2021 NY Slip Op 03246


Decided on May 20, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 20, 2021

Before: Renwick, J.P., Manzanet-Daniels, Mazzarelli, Mendez, JJ. 


Index No. 35173/13 Appeal No. 13884-13885 Case No. 2019-3898 2019-3601 

[*1]Bank of America, N.A. Successor by Merger to BAC Home Loans Servicing, LP Formerly Known as Countrywide Home Loan Servicing, L.P., Plaintiff-Respondent,
vAlthea Angel, Defendant-Appellant, Thomas Munro et al., Defendants. 


Aletha Angel, appellant pro se.
Bryan Cave Leighton Paisner LLP, New York (Suzanne M. Berger of counsel), for respondent.



Orders, Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered on or about January 28, 2019, which, to the extent appealed from as limited by the briefs, granted plaintiff's motion for summary judgment and denied defendant Althea Angel's motions to dismiss the complaint pursuant to CPLR3211 and for leave to file an amended answer and counterclaims, unanimously affirmed, without costs.
Plaintiff established prima facie entitlement to summary judgment in this foreclosure action by annexing copies of the note, mortgage and assignment of mortgage to the summons and complaint at the commencement of the action, as well as having submitted proof of defendants' obligations under the note and mortgage (see MTGLQ Invs., L.P. v Vasquez, 190 AD3d 616 [1st Dept 2021]; Bank of N.Y. Mellon v O'Callahan, 190 AD3d 599 [1st Dept 2021]). Defendant Angel failed to offer proof as would raise a triable issue.
We have considered Angel's remaining arguments and find them unpreserved and/or unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 20, 2021








